¢

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 930 Page ID #:24

HAKOB AYVAZIAN, Plaintiff in Pro Per
1010 E MAGNOLIA BLVD

BURBANK, CA 91501
HAKOB74@YMAIL.COM

No Phone UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

COMPLAINT FOR DAMAGES
PLAINTIFF,

YS,

THE MOOR LAW GROUP, A California Company
NELSON & KENNARD, A California Professional
Company

ENCORE RECEIVABLE MANAGEMENT, INC A
Kansas Corporation

REDLINE RECOVERY SERVIES, LLC, A New York
Limited Liability Company

ASSET ACCEPTANCE, LLC, A Delaware Limited
Liability Company : tor
DEFENDANTS. Ho Re

m~,
=
~
mm
- gg
{$8
re
“oO
=
©
ee
aa

Now comes the Plaintiff, HAKOB AYVAZIAN, (hereinafter “Plaintiff’) on behalf of
himself and brings his Complaint against THE MOORE LAW GROUP (hereinafter “MOORE”),
NELSON & KENNARD (hereinafter “NELSON”), ENCORE RECEIVABLE MANAGEMENT,
(hereinafter “ENCORE”), REDLINE RECOVERY SERVICES, LLC (hereinafter “REDLINE”) and
ASSET ACCEPTANCE, LLC (hereinafter “ASSET”) collectively known as DEFENDANTS, for
violations of Fair Debt Collection Practices Act [15 U.S.C. §1692-1692p] (“FDCPA”),
California’s Rosenthal Fair Debt Collection Practices Act [California Civil Code §1788 et seq.}
(“RFDCPA”), Fair Credit Reporting Act [15 U.S.C. §1681 et seq.] (““FCRA”), Californta’s
Consumer Credit Reporting Agencies Act [California Civil Code §1785.2 et seq.] (“CCRAA”),

and for defamation by libel and invasion of privacy/false light, alleging as follows:

PRELIMINARY STATEMENT

1. The FDCPA regulates the behavior of collection agencies attempting to collect a

COMPLAINT FOR DAMAGES- 1

HAKOB AYVAZIAN, an individual, ~ C¥ 1°? “ 1 50 6 ~ Jw (4 x)

qapa0'
Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 2 of 23 Page ID #:25

debt on behalf of another. The United States Congress has found abundant evidence
of the use of abusive, deceptive, and unfair debt collection practices by many debt
collectors, and has determined that abusive debt collection practices contribute to a
number of personal bankruptcies, marital instability, loss of jobs, and invasions of
individual privacy. Congress enacted the FDCPA to eliminate abusive debt
collection practices by debt collectors, to ensure that those debt collectors who
refrain from using abusive debt collection practices are not competitively
disadvantaged, and to promote uniform State action to protect consumers against
debt collection abuses [15 U.S.C. §1692(a)-(e)].

. The FDCPA is a strict liability statute, which provides for actual or statutory

damages upon the showing of one violation. The Ninth Circuit has held that whether
a debt collector’s conduct violates the FDCPA should be judged from the standpoint
of the “least sophisticated” consumer. [Baker v. G.C. Services Corp., 677 F.2d 775,
778 oo" Cir. 1982); Swanson v. Southern Oregon Credit Service, Inc. 869 F.2d 1222,
1227(9" Cir.1988)]. This objective standard “ensure[s] that the FDCPA protects all
consumers, the gullible as well as the shrewd ... the ignorant, the unthinking and the
credulous.” [Clomon v. Jackson, 988 F.2d 1314, 1318-19 (2™ Cir. 1993)].

. To prohibit deceptive practices the FDCPA, at 15 U.S.C. §1692e, outlaws the use of

false, deceptive, and misleading collection letters and names a non-exhaustive list of
certain per se violations of false and deceptive collection conduct. 15 U.S.C.
§1692e(1)-(16). To prohibit harassment and abuses by debt collectors, the FDCPA,
at 15 U.S.C. §1692d, further provides that a debt collector may not engage in any
conduct the natural consequence of which is to harass, oppress, or abuse any person
in connection with the collection of a debt and names a non-exhaustive list of certain

per se violations of harassing and abusive collection conduct. 15 U.S.C, §1692d(1)-
(6).

. The FDCPA also prohibits, at 15 U.S.C. §1692c, without the prior consent. of the

consumer given directly to the debt collector, or the express permission of a court of
competent jurisdiction, or as reasonably necessary to effectuate a post judgment

judicial remedy, communication by a debt collector in connection with the collection

COMPLAINT FOR DAMAGES- 2

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 3 of 23 Page ID #:26

10.

of any debt, with any person other than the consumer, his attorney, a consumer
reporting agency if otherwise permitted by law, the creditor, the attorney of the

creditor, or the attorney of the debt collector.

The RFDCPA regulates collection agencies and original creditors attempting to
collect debts on their own behalf. The California legislature has determines that the
banking and credit system and grantors of credit to consumers are dependent upon
the collection of just and owing debts and that unfair or deceptive collection
practices undermine the public confidence that is essential to the continued
functioning of the banking and credit system and sound extensions of credit to
consumers. The Legislature has further determined that there is a need to ensure that
debt collectors exercise their responsibility with fairness, honesty, and due regard for
the debtor’s rights and that debt collectors must be prohibited from engaging in

unfair or deceptive acts or practices.

Congress enacted the FCRA to establish consumer rights to privacy over their credit
and financial information and to ensure the "[a]ccuracy and fairness of credit
reporting." FCRA provides several protections for consumers, including but not
limited to the right to be notified of any negative/unfavorable information reported in
their name and the right to dispute inaccurate, outdated, incomplete or otherwise
unfairly reported information on their credit file.

The FCRA, under CONGRESSIONAL FINDINGS AND STATEMENT OR PURPOSE,
15 U.S.C, §1681(a)(4) reads in relevant part:
“There is a need to insure that consumer credit reporting agencies exercise their grave
responsibilities with fairness, impartiality, and a respect for the consumer’s right to
privacy.” (Emphasis added.)
The FCRA, under CONGRESSIONAL FINDINGS AND STATEMENT OF PRUPOSE,
15 U.S.C. §1681(b) reads in relevant part;
“Reasonable procedures. It is the purpose of this title to require that consumer reporting
agencies adopt reasonable procedures for meeting the needs of commerce for consumer
credit, personnel, insurance, and other information in a manner which is fair and

equitable to the consumer with regard to the confidentiality, accuracy, relevancy, and

COMPLAINT FOR DAMAGES- 3

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 4 of 23 Page ID #:27

11.

12.

13.

proper utilization of such information in accordance with the requirements of this title.”

(Emphasis added.)

The statute governing “permissible purposes of consumer reports,” FCRA 15 U.S.C:

§1681b, provides in pertinent part:

“(a@) In general. Subject to subsection (c) of this section, any consumer reporting agency,

may furnish a consumer report under the following circumstances and no other:'

(Emphasis added.)

Thus, the strictly limited provisions set forth in section 1681b operate to support the

confidentiality of consumer reports by limiting their dissemination.

14, FCRA regulates credit reporting agencies as well as creditors, collection
agencies and other parties who provide information to credit reporting agencies
and/or obtain and use the consumer credit reports. FCRA Section 604, 15 U.S.C.
§1681b, identifies the permissible purposes allowed under the act for conducting

credit reviews on consumers.

15. FCRA Sections 616 and 617, 15 U.S.C. §1681n and §1681o, create private
right of action consumers can bring against violators of any provision of the FCRA
with regards to their credit. In DiMezza v. First USA Bank, Inc., supra, the court
confirmed that "[...] the plain language of [CRA Sections 616 and 617, 15 U.S.C.
§168in and §168lo0] provide a private right of action for a consumer against
furnishers of information who have willfully or negligently failed to perform their
duties upon notice of a dispute. [...] there is a private right of action for consumers

to enforce the investigation and reporting duties imposed on furnishers of

information."

16. CCRAA was implemented to protect the credit information of California
consumers. CCRAA also regulates consumer credit reporting agencies and
furnishers of information with respect to personal, credit and other financial
information submitted and maintained in their credit file. CCRAA in California
Civil Code §1785.25-1785.26 refrains furnishers of information from reporting
information that they know or should have known was erroneous, and obligates

furnishers to cease credit reporting of information disputed by consumers without

COMPLAINT FOR DAMAGES- 4

a

Case 2:12-cv-01506-ODW-E Document3 Filed 02/28/12 Page5of23 Page ID #:28

notice of such dispute.

17. Similar to FCRA Section 604, 15 U.S.C. §1681b, California Civil Code
§1785.11 identifies the lawful reasons that would allow for a credit review on any
given consumer.

18. CCRAA provides consumers with the right to be informed of negative credit
reporting and the right to dispute information in their credit reports, which they
believe is incomplete and/or inaccurate. Consumers also have the right to bring civil
action against violators of any provision of the CCRAA with respect to their rights
and their credit, and to seek monetary damages. California Civil Code §1785.19 and
§1785.31.

19,  Sanai v. Saltz, et al., 2009 Cal. App. LEXIS 83 (Cal. App. 2d Dist. Jan. 26,
2009) established that consumers may replead their FCRA claims as violations of the
CCRAA and that the state claims are not preempted by FCRA. In further support,
courts have uniformly rejected creditors’ and consumer reporting agencies’
arguments that the FCRA bars state law claims. See Sehl v. Safari Motor Coaches,
Inc., 2001 U.S. Dist. Lexis 12638 (U.S.D.C. N.D. Cal. 2001)(for detailed
discussion); Harper v. TRW, 881F. Supp. 294 (U.S.D.C. S.D. Mich. 1995); Rule v.
Ford Receivables, 36 F. Supp.2d 335 (U.S.D.C. S.D. Va. 1999); Watkins v. Trans
Union, 118 F. Supp.2d 1217 (U.S.D.C. N.D. Ala. 2000); Swecker v. Trans Union, 31
F, Supp.2d 536 (U.S.D.C. E.D. Va. 1998); Saia v. Universal Card Sve., 2000
U.S.Dist.Lexis 9494, 2000 Westlaw 863979 (U.S.D.C. E.D. La. 2000); Sherron v.
Private Issue by Discover, 977 F. Supp.2d 804 (U.S.D.C. N.D. Miss. 1997); Hughes
v. Fidelity Bank, 709 F. Supp.2d 639 (U.S.D.C. E.D. Pa. 1989).

JURSDICTION, VENUE, AND DEMAND FOR JURY TRIAL

Jurisdiction of this court arises pursuant to J5 U.S.C. §1962k(d), which states that such
actions may be brought and heard before "any appropriate United States district court

without regard to the amount in controversy." This Court also has jurisdiction of the

COMPLAINT FOR DAMAGES- 5

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 6 of 23 Page ID #:29

20,

21.

22.

23.

24.

25.

- provision of this title with respect to any person is liable to such person in an amount

federal claims asserted pursuant to 28 U.S.C. §1331 and supplemental jurisdiction of the
state law claims asserted pursuant to 28 U.S.C. §1367(a).

Defendant regularly conducts business in the state of California, and therefore, personal

jurisdiction is established.
Venue is proper in this district pursuant to 28 U.S.C. §1391 because Defendant conducts

business in this district and many of the events occurred in this district. Further, Plaintiff

resides in this district.

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedures, Plaintiff hereby demands a
jury trial on any and all issues qualified for a jury trial.

PRIVATE RIGHT OF REMEDY

15 U.S.C §1692k(a) states that “... any debt collector who fails to comply with any

equal to the sum of-.”

Cal. Civ. Code §1788.30(a) states that “any debt collector who violates this title with
respect to any debtor shall be liable to that debtor only in an individual action...”

15 U.S.C. §1681n and §16810 refer to consumers’ ability to bring civil liability action
against users/furnishers of information for willful and negligent noncompliance
respectively, with regards to any provision of the FCRA.

Gorman v. MBNA America Bank, N.A., No. 06-17226 further established that consume
are entitled to a Private Remedy against Furnishers for noncompliance with ned
obligations enforced under FCRA §1681s-2(b).
California Civil Code §1785.15(f) states that consumers “have a right to bring civil action
against anyone [...], who improperly obtains access to a file, knowingly or willfully

misuses file data, or fails to correct inaccurate file data” concerning a consumer’s credit
report.
California Civil Code §1785,31(a) states that Plaintiff as “any consumer who fe

damages as a result of a violation of this title by any person may bring an action in

court of appropriate jurisdiction against that person to recover the following.”

COMPLAINT FOR DAMAGES- 6

Case 2:12-cv-01506-ODW-E. Document 3 Filed 02/28/12 Page 7 of 23 Page ID #:30

14.

15.

26.

PARTIES

Plaintiff is an individual, and at all times relevant herein, was a resident of Los Angeles

County, California.
Plaintiff is a consumer as defined in 15 U.S.C. §1681a (c) and California Civil Codg

§1785.3(b).
“MOORE?” is a California Company.

“NELSON” is a California Company.

“ENCORE?” is a Kansas Corporation.

“REDLINE” is a New York Limited Liability Company
“ASSET” is a Delaware Limited Liability Company

Defendants regularly conduct business in the State of California.

Defendants are debt collectors as defined in /5 U.S.C. $1692a(6)and Cal. Civ. Code

$1788.2(c).
Defendants are persons as defined in 15 U.S.C. §168fa (b) and California Civil Code

§1785.3Q).

Whenever this complaint alleges that any defendant did any act or thing, it is meant that
it, it's directors, officers, agents, employees, or the directors, agents or employees of its
subsidiaries, performed or participated in such act or thing, and in each instance that such!
act or thing was authorized or ratified by, and done on behalf of and under the direct,

control of that defendant.
Plaintiff is informed and believes and on that basis alleges that Defendant is

responsible for the acts, occurrences and transactions as officers, directors or
managing agents of Defendant or as its agents, servants, employees and/or joint
venturers and as set forth in this Complaint, and that each of them is legally liable to
Plaintiff, as set forth below and herein:
Said Officers, directors or managing agents of Defendant personally acted willfully
with respect to the matters alleged in this Complaint;
Said Officers, directors or managing agents of Defendant personally authorized,
approved of, adopted and/or ratified the acts alleged herein or the agents, servants;

employees and/or joint venturers of Defendant did so act;

COMPLAINT FOR DAMAGES- 7

Case 2:12-cv-01506-ODW-E Document3 Filed 02/28/12 Page 8of23 Page ID #:31

27.

-named Defendant was expressly authorized or ratified.

Said Officers, directors or managing agents of Defendant personally participated in
the acts alleged herein of Defendant;
Said Officers, directors or managing agents of Defendant personally had close
supervision of their agents, servants, employees and/or joint venturers of Defendant;
Said Officers, directors or managing agents of Defendant personally were familiar
with the facts regarding the matters alleged herein;
Said Officers, directors or managing agents of Defendant personally failed to
investigate the circumstances appertaining to the acts alleged herein. They also failed
and refused to repudiate the herein alleged actions and failed to redress the harm done
to Plaintiff. Further, said Officers, directors, or managing agents of Defendant failed
and refused to punish or discharged the said agents, servants, employees and/or joint
venturers of Defendant, even after learning of the acts of the agents, servants,
employees and/or joint venturers of Defendant. —
Defendant is liable to Plaintiff for the relief prayed for in this Complaint, and any future
amended complaint. Further, Plaintiff alleges that each act alleged herein, whether by a

FACTUAL ALLEGATIONS
Plaintiff who is not a minor alleges that the foregoing events, starting from date of

discover of the credit inquiries made by Defendants, which are the subject to this

complaint, occurred within the past one year.

In or around November, 2011 Plaintiff obtained his credit bureau reports from CRAs and
was shocked to find that his personal financial and credits information were pulled and
reviewed by “MOORE” on March 24, 2011 and March 25, 2011, by “NELSON” onl
August 11, 2011, by “ENCORE” on April 5, 2011, by “REDLINE” on September 22,
2010, by “ASSET” on March 8, 2010 without Plaintiff's knowledge and authorizations.
Upon research and review of companies profiles available online, Plaintiff learned that
Defendants are a collection agencies that are in the business of collecting consumer debts.
Upon information and belief, at some point Defendants must have tried to purchase debts
alleged to be owed by Plaintiff, considered purchasing debts alleged to be owed by

Plaintiff, or looked into Plaintiffs history as a potential debtor for overdue and

COMPLAINT FOR DAMAGES-~ 8

Case 2:12-cv-01506-ODW-E Document3 Filed 02/28/12 Page9of23 Page ID #:32

28.

unsatisfied account balances to collect on. At no point prior to the credit reviews did
Plaintiff know of any such debts confirmed or alleged by Defendants to be the
responsibility of Plaintiff.

Defendants violated 15 U.S.C. §1681 by running credit inquiries into Plaintiff

consumer credit reports maintained by and with one or more of the three major credi
reporting agencies, Experian, Equifax and Transunion (hereinafter “CRAs”), withou
Plaintiff's knowledge and authorization, and without having permissible purposes for
conducting a credit reviews as defined under §1681b of the above cited title.
Specifically, by “MOORE” on March 24, 2011 and March 25, 2011, by “NELSON” on
August 11, 2011, by “ENCORE” on April 5, 2011, by “REDLINE” on September 22,
2010, by “ASSET” on March 8, 2010. Defendants violated 15 U.S.C. $1681, by pulling
Plaintiff's consumer credit reports, without the knowledge or consent of Plaintiff.
Plaintiff had not requested reports from Defendants for purpose of extending credit,
employment, insurance underwriting, or any other purposes that are allowed under this
section. Defendants’ credit reviews resulted in credit inquiries, which are reflecting on
Plaintiffs credit reports until today.
At or about the time Defendants initiated the credit pulls of Plaintiff's consumer report:
a. Plaintiff did not authorize consumer reporting agency to furnish his consumer report
to Defendants.
b. Plaintiff did not authorize Defendants to obtain his consumer reports from consumen
reporting agencies.
c. Plaintiff did not apply for any credit, loans or services with Defendants.
d. Plaintiff did not have any contractual relationship for credit, loans or services with
Defendants.
Plaintiff did not owe any debts to any of Defendants.
Plaintiff did now owe any debt as the result of a judgment to any of Defendants.

Plaintiff did not apply for any employment with Defendants.

room mf 9

Plaintiff did not apply for any insurance from Defendants.

COMPLAINT FOR DAMAGES- 9

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 10 of 23 Page ID #:33

27

28

10.

i. Plaintiff did not have any existing account(s) within the meaning the Electronic Fund

Transfer Act (“EFTA”) §903(2), pursuant 15 U.S.C. §168 la(f}(4). “the term ‘account’
means a demand deposit, savings deposit, or other asset account (other than an occasional or incidental
credit balance in an ‘open end credit plan’ as defined in section 1602(i) of this title), as described in
regulations of the Board, established primarily for personal, family, or household purposes, but such
term does not include an account held by a financial institution pursuant to a bona fide trust
agreement.” (Emphasis added) “the terms ‘open end credit plan’ and ‘open end consumer credit plan’
mean a plan under which the creditor reasonably contemplates repeated transactions, which prescribes
the terms of such transactions, and which provides for a finance charge which may be computed from
time to time on the outstanding unpaid balance.” (Emphasis added) or credit obligation with

Defendants.

j. Plaintiff did not have any jurisdiction issued any order to credit reporting agencies to
furnish Plaintiff's consumer report to Defendants.
k. No head of State or local child support enforcement agency requested credit reporting
agencies to provide Plaintiff's consumer reports to Defendants.
l. No agency administering a State plan under Section 454 of the Social Security Act
(42 U.S.C. Section 654) requested credit reporting agencies to provide Plaintiff’s
consumer report to Defendants.
m, Plaintiff did not apply for any license or other benefit granted by a government
instrumentality through Defendants.
n. Plaintiff did not receive any “firm offer of credit or insurance” from Defendants.
Defendants violated 15 U.S.C. §1681 by ignoring Plaintiff's written disputes and requests
for proof that the credit inquiries were run for a purpose recognized by law.
Defendants conducted the above described credit reviews of Plaintiff's records without
communicating to him of any debts and confirming the validity of any such alleged debts,
even if such alleged debts did exist and were in their possession for collections.
On or about June 27, 2011 Plaintiff sent letters to each credit reporting agency,
addressing the unauthorized credit reviews and requesting deletion of the credit inquiries
from Plaintiff's credit files, unless Defendants could provide and support a justifiable
purpose for conducting the disputed credit reviews.

On or about October 11, 2011 Plaintiff sent letters to each individual defendant

requesting their permissible purposes per FCRA.

COMPLAINT FOR DAMAGES- 10

Case 2:12-cv-01506-ODW-E Document3 Filed 02/28/12 Page 11of23 Page ID #:34

11.

12.

13.

14.

15,

16.

Defendants failed to answer Plaintiff's request and failed to delete the credit inquiries to
avoid further damage to Plaintiff's credit records.

On or about November 4, 2011, December 19, 2011 and January 16, 2012 Plaintiff sent a
follow up letters to Defendants, addressing their failure to respond or take appropriate
corrective action with respect to Plaintiff's initial of disputes and detailed of notice of all
their violations.
To date, after multiple correspondences, Defendants still continues to maintain the record
of unauthorized credit inquiries on Plaintiff's credit records.

As aresult of Defendants’ conduct, Plaintiff has suffered:
a. Actual damages and serious financial harm arising from monetary losses relating to

denials to new credit, loss of use of funds, loss of credit and loan opportunities,
excessive and/or elevated interest rate and finance charges;
b. Out of pocket expenses associated with communicating with Defendant, disputing the
unauthorized credit inquiry, as well as consultation fees paid to attorneys and other
professionals to obtain information and advice about consumer rights credit reporting

and use;

c. Emotional distress and mental anguish associated with having his credit information
unlawfully reviewed and having derogatory information transmitted about Plaintiff to

other people both known and unknown;
d. Decreased credit score and creditworthiness, which may result in inability to obtain!
credit, employment or housing on future attempts.

FIRST CLAIM FOR RELIEF
(Violations of FDCPA)

Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.
In committing the acts against Plaintiff as alleged above, Defendants subjected Plaintiff

to unfair debt collection practices. Their violations include at least the following:

a) Failing to provide notice of debts to Plaintiff, complete with all required

disclosures, per 15 U.S.C. $1692e (11).

COMPLAINT FOR DAMAGES- 11

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 12o0f23 Page ID#:35

17.

18.

19.

20.

2i.

22.

b) Failing to provide written notices of Plaintiffs right to verification and
c) Using false representations and deceptive means to collect or attempt to collect an

d) Using unfair and/or unconscionable means to collect an alleged debts, in violation

information about their alleged debts, per 15 U.S.C. $1692g(a);
alleged debts, in violations of 15 U.S.C. §1692e(10);

of 15 U.S.C. §1692f:
As a consequence of such violations, Plaintiff has sustained special and general damages
according to proof, in addition to attorey’s fees and costs as determined by the court
pursuant to 15 U.S.C. $1692k.

SECOND CLAIM FOR RELIEF

(Violations of RFDCPA)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.
In committing the acts against Plaintiff as alleged above, Defendants subjected Plaintiff
to unfair debt collection practices. Their violations include at least the following:
a) Using false representations and deceptive means to collect or attempt to

collect alleged debts, in violation of California Civil Code $1788.17;

b) Using unfair and/or unconscionable means to collect alleged debts, in
violation of California Civil Code $1788.17;

As a result of these violations of the California’s Fair Debt Collection Practices Act by

Defendants, Plaintiff has suffered general and special damages according to proof, and ig

entitled to a statutory penalty for each separate violation of this Act, as well as punitive

damages against all Defendants for conduct amounting to oppression and malice under

California law, pursuant to California Civil Code $1788.30. Additionally, Plaintiff ig

entitled to attorney’s fees, costs and expenses under this law.

THIRD CLAIM FOR RELIEF
(Violations the FCRA)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

In committing the acts against Plaintiff as alleged above, Defendants subjected Plaintiff

COMPLAINT FOR DAMAGES- 12

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 13 o0f 23 Page ID #:36

23.

24.

25.

26.

27.

to unfair credit reporting practices. Their violations include at least the following:

a) Obtaining and reviewing Plaintiff's credit report from CRA’s without having

permissible purpose required under 15 U.S.C. §1681b.
Based on information and belief, the credit reviews and the credit inquiries were used as
collection tactics by Defendants with intent to obtain information and thereby unfair
advantage over Plaintiff and/or harm Plaintiff’s good name and credit rating. Thus, the
credit review inquiries, while a clear violation of fair credit reporting laws, based on the
circumstances of this case also constitute unlawful collection attempts under Federal and
State Fair Debt Collection Practices Acts. The accusations stated in this cause of action
directly relate to the allegations asserted throughout this Complaint.
As a result of these unauthorized actions by the Defendant mentioned above, Plaintiff has
suffered damages and is entitled to actual damages, punitive damages as the court may

allow, as well as reasonable costs and attorney's fees pursuant to 15 U.S.C. $1681 (n).

FOURTH CLAIM FOR RELIEF
(Violations of CCRAA)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

In committing the acts against Plaintiff as alleged above, Defendants subjected Plaintiff

to unfair credit reporting practices. Their violations include at least the following:

a) Obtaining and reviewing Plaintiff's credit report from CRA’s without having

permissible purpose required under California Civil Code $1785.11.

As a result of these unauthorized actions by the Defendants mentioned above, Plaintiff
has suffered damages and is entitled to actual damages, punitive damages as the court
may allow, injunctive relief ordering deletion of the credit inquiries and refraining

Defendants from future credit reviews conducted on Plaintiff pursuant to Cal. Civ. Code

§1785.31.

FIFTH CLAIM FOR RELIEF
(Defamation-Libel)

COMPLAINT FOR DAMAGES- 13

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 14 0f23 Page ID #:37

28.

29,

30.

31.

32.

33.

34.

35.

Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

The credit inquiries made by Defendants are defamatory because the general public and
credit grantors in particular, recognize collection agencies and presume that when a
collection agency pulls and reviews a consumer’s credit file, there must exist a valid
claim of debt owed by the consumer to such collection agency, regardless of the

circumstances under which the inquiry was made.

The credit inquiries create a presumption of delinquencies and an overall poor fiscal
responsibility, damaging Plaintiff's credit rating and his ability to secure and utilize

credit and maintain good relationships with creditors.

The credit inquiries constitutes libel per se in that it clearly exposed, and continue
to expose, Plaintiff to ridicule and tend directly to injure him by portraying him as

delinquent and a poor credit risk.

Plaintiff has been damaged by loss of reputation, shame, and embarrassment, as well

as having suffered severe emotional distress.

Based on information and belief Plaintiff alleges that in doing the foregoing acts,
the Defendants acted in willful disregard for the consequences of their actions and
the effects on the Plaintiff and his credit, and did so intentionally and willfully, with

malice, and with the intent to injure and/or oppress Plaintiff.

SIXTH CLAIM FOR RELIEF

(Invasion of Privacy/False Light)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action,
Defendants’ above actions violated Plaintiff's right of privacy by impermissibly
accessing Plaintiff's most private information and placing the Plaintiff in a false light

before the eyes of others, including potential credit grantors and creditors as well as

family, friends and the general public.

COMPLAINT FOR DAMAGES- 14
Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 15o0f23 Page ID #:38

36.

37,

38.

39.

40.

WHEREFORE, Plaintiff requests that judgment be entered in his favor against the

1,
Actual and General Damages sustained by Plaintiff in an amount to be proven at trial,

By such unauthorized invasion, publication and circulation of Plaintiff's name and the
inaccurate information, Defendants invaded Plaintiff's right to privacy, subjected
Plaintiff to ridicule and contempt, injured Plaintiff's personal esteem, reflected
disgracefully on Plaintiff's character, diminished Plaintiff's high standing, reputation and
good name among family, friends, neighbors and business associates, destroyed
Plaintiff's peace of mind, and caused Plaintiff severe mental and emotional distress.

The conducts of Defendants were a direct and proximate cause, as well as a substantial
factor, in bringing about the serious injuries, damages and harm to Plaintiff that are
outlined more fully above and, as a result, Defendants are liable to compensate the
Plaintiff for the full amount of actual, compensatory and punitive damages, as well as

such other relief, permitted under the law.

PRAYER FOR RELIEF
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of
action.
Plaintiff contends that the actions of the Defendants constituted willful violations of
the Fair Debt Collection Practices Act, Rosenthal Fair Debt Collection Practiceg
Act, Fair Credit Reporting Act and Consumer Credit Reporting Agencies Act.

A judicial declaration that the conduct of Defendants violated applicable statutes isl

not just and appropriate.

Defendants as follows:

Statutory Damages and/or

pursuant to California 15 U.S.C. $1692k(a)(1) and/or California Civil Code

§1788.30(a), and 15 U.S.C. $1681n(a\(1) and (b).
Injunctive relief instructing Defendants to delete the unlawfully made credit inquiries

from Plaintiff’s credit reports.
Costs and reasonable attorney’s fees, pursuant to 15 U.S.C. $1692k(a)(3) and/or

California Civil Code §1788.30(c), and 15 U.S.C. §1681n(a)(3) and (c).

COMPLAINT FOR DAMAGES- 15

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 16 of 23 Page ID #:39

4, Punitive damages pursuant to California Civil Code §1788.30(b) and 15 U.S.C,

$1681n(a)(2) as the court may allow.
5. Any other further damages this Honorable Court finds just and proper.

DATED: February 17, 2012 Respectfully submitted

Hakob Afvazian, Plaintiff In Pro Pe

COMPLAINT FOR DAMAGES- 16

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 17 of23 Page ID #:40

I, Hakob Ayvazian, have suffered from the following due to, or made worse by, the

actions of the Defendant’s debt collection activities:

Sleeplessness

Fear of answering the telephone

Nervousness

Fear of answering the door

Embarrassment when speaking with family or friends
Depressions (sad, anxious, or “empty” moods)

Chest pains

Feelings of hopelessness, pessimism

Feelings of gull worthlessness, helplessness

10. A petite and/or weight loss or overeating and weight gain
11. Thoughts of death, suicide or suicide attempts

12. Restlessness or irritabilit

‘13. Headache, nausea, chronic pain or fatigue

14. Negative impact on my job

15, Negative impact on my relationships NO

SOP DW Bee

Other physical or emotional symptoms I believe are associated with abusive debt collection
activities:

Pursuant to 28 U.S.C. §1746(2), I hereby declare (or certify, verify or state) under penalty
of perjury that the foregoing is true and correct. eae

a ee
Dated: 02/17/2012 eo, eo __
=~ Signed Name

_Hakob Ayvazian _
~~ Printed Name _

COMPLAINT FOR DAMAGES- 17

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 18 of 23 Page ID #:41

VERIFICATION
I, Hakob Ayvazian, am the Plaintiff in the above entitled action. I have read the foregoin
complaint. The facts stated herein are within my knowledge and are true and correct, secon
those matters stated on information and belief, and, so to those, I believe them to be true and

correct. I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

Executed: February 17, 2012 at Glendale, California. <2
a.
FS
By: a
a a

Hakob Ayvazian, PLAINTIFF, Pro Per

COMPLAINT FOR DAMAGES- 18

Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 19 of 23 Page ID #:42

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Ronald S. W. Lew and the assigned
discovery Magistrate Judge is Charles Eick.

The case number on all documents filed with the Court should read as follows:
CV12- 1506 RSWL (Ex)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served an all plaintiffs).

Subsequent documents must be filed at the following location:

Xx] Western Division L] Southern Division LJ Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper lacation will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 20 of 23 Page ID #:43

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

DEFENDANTS

I (a) PLAINTIFFS (Check box if you are representing yourself
THE MOORE LAW GROUP (Sce attached for addtional defedants)

HAKOB AYVAZIAN

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing Attomeys (If Known)

yourself, provide same.)
HAKOB AYVAZIAN: EMAIL: HAKOB74@YMAIL.COM

1010 2 MAGNOLIA BLVD
BURBANK, CA 91501
I. BASIS OF JURISDICTION (Place an X in one box only.) 1. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X im one box for plaintiff and one for defendant. )
11 U.S. Government Plaintiff #3 Federal Question (U.S. PIF DEF PTF DEF
Government Not a Party) Citizen of This State Of O1 Incorporated or Principal Place O14 O4
of Business in this State
O12US. Government Defendant 14 Diversity (Indicate Citizenship | Citizen of Another State O2 ©2 Incorporated and PrincipalPlace OS O85
of Parties in Item Til) of Business in Another State
Citizen or Subject of a Foreign Country 03 13 Foreign Nation O6 O86

TV. ORIGIN (Place an X in one box only.)

a Original C12 Removed from (3 Remanded from [14 Reinstated or O15 Transferred from another district (specify): 6 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes (No (Check ‘Yes’ only if demanded in complaint.)
(MONEY DEMANDED IN COMPLAINT: $ Not Yet Asserted

CLASS ACTION under F.R.C.P. 23; O Yes No

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
VIOLATIONS OF 15 U.S.C. Section 1681, 15 U.S.C. Section 1692, Cal Civ. Code Section 1788, Cal, Civ. Code Section 1785, Defamation-Libel, Invasion of Privacy/false

Vil. NATURE OF SUIT (Place an X in one box only.)

“vs OTRHER STATUTES .- A CONTRACT - 627 FORTS Se Pes TORRES. PRISONER - _ LABOR. .
(1400 State Reapportionment [0110 Insurance PERSONAL INJURY PERSONAL PETITIONS. . (OO 710 Fair Labor Standards
~ 1410 Antitrust 120 Marine 10310 Airplane PROPERTY S10 Motions to Act
11430 Banks and Banking (130 Miller Act (325 Airplane Product (9370 Other Fraud Vacate Sentence [0 720 Labor/Mgmt.
0450 Commerce/ICC [1 140 Negotiable Instrument Liability — 372 Truth in Lending Habeas Corpus Refations
Rates/etc. 11150 Recovery of 1320 Assault, Libel & (01380 Other Personal 0530 Gencral 0730 Labor/Mgmt.
01460 Deportation Overpayment & Slander ' Property Damage |O 535 Death Penalty Reporting &
11470 Racketeer Influenced Enforcement of 330 Fed. Employers’ 1 385 Property Damage |(1 540 Mandamus/ Disclosure Act
and Corrupt Judgment b Liability _ Product Liability Other (1 740 Railway Labor Act
Organizations C1IS| Medicare Act Daas Maa produ “ SANKRUPTCY :- [01550 Civil Rights [1.790 Other Labor
480 Consumer Credit 1D 152 Recovery of Defaulted Liabilit (1422 Appeal 28USC [1555 Prison Condition Litigation
11490 Cable/Sat TV Student Loan (Excl. fry 359. notor Vehicle 158 P: RORFRITURE/ .|0.791 Empl. Ret. Inc.
01810 Selective Service Veterans) (355 Motor Vehicle 423 Withdrawal28 [°° ~ PENALTY Security Act
(1850 Securities‘Commodities/|O1 153 Recovery of Procuet Liabitity |... USC157 [0.610 Agriculture PROPERTY RIGHTS...
Exchange Overpayment of (360 Other Personal 2 CIVIL RIGHTS - (1620 Other Food & [0 820 Copyrights
875 Customer Challenge 12 Veteran’s Benefits Injury O 441 Voting Drog © 830 Patent
USC 3410 [3.160 Stockholders’ Suits (0362 Personal Injury [1 442: Employment O625 Drug Related 0840 Trademark /
0890 Other Statutory Actions {0 190 Other Contract Med Malpractice {0443 Housing/Acco- Seizure of SOCIAL SECURITY
0891 Agricultural Act 10195 Contract Product 11365 Personal Injury- menodations Property 21 USC [0 861 HIA (1395ff)
0892 Economic Stabilization Liability Product Liability (0444 Welfare 881 0 862 Black Lung (923)
Act 0196 Franchise 11368 Asbestos Personal [01445 American with |01 630 Liquor Laws 0863 DIWC/DIWW
01893 Environmental Matters |/.:.- -REAL PROPERTY: >. Injury Product Disabilities - 640 RR. & Truck (405(g))
01894 Energy Allocation Act /[1210 Land Condemnation Liability Employment (0 630 Airline Regs Cl 864 SSID Title XVT
(1895 Preedom of Info. Act {1220 Foreclosure P.. AMIMIGRATION: 25101446 American with [11660 Occupational (0 865 RSI(405(g)}
(9900 Appeal of Fee Determi- [C1230 Rent Lease & Ejectment | 462 Naturalization Disabilities - Safety Health |. FEDERAL TAX-SUITS
nation Under Equal 240 Torts to Land Application Other 0690 Other 870 Taxes (U.S. Plaintiff
Access to Justice (0.245 Tort Product Liability }0463 HabeasCorpus- [13 440 Other Civil or Defendant)
(1950 Constitutionality of [3290 All Other Real Property | 46 Alten Detainee Rights 2.871 IRS-Third Party 26
State Statutes 5 Other Iramigration USC 7609
Actions
Cig frex\
- vML Cee /
FOR OFFICE USE ONLY: = Case Number: =

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

CV-71 (05/08)

CIVIL COVER SHEET

Page | of 2
Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 21 0f23 Page ID #:44

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
. CIVIL COVER SHEET

VItI(a). IDENTICAL CASES: Has this action been previously fited in this court and dismissed, remanded or closed? WNo Yes
Hf yes, list case number(s):

VIIK(b). RELATED CASES; Have any cases been previously filed in this court that are related to the present case? @No Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (1A. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact: or
QC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is Present.

[X. VENUE: (When completing the following information, use an additional sheet if necessary.)
(a) List the County in this District; Califomia County outside of this Distriet; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
O Check here if the government, its agencies or emplo’ is a named plaintiff. If this box is checked, go to item (b),

California County outside of this District; State, if other than Califomia; or Foreign Country
VERIOUS

County in this Dietrict:*

LOS ANGELES

{b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.

QO__Check here if the government, its agencies or employees is a named defendant, If this box is checked, go to item (c).
County in this District:* California County outside of this District; State, if other than California; or Foreign Country

VERIOUS

LOS ANGELES

(c) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which, EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.
California County outside of chis District; State, if other than California; or Foreign Country

VERIOUS

County in this District:*

fos ANGELES

* Los Angeles, Orange, San Bernardino, Riverside, Ventara, Santa Barbara, or San Luis Obispo Counties
Nate: Int i i f i

I 02/17/2012

X. SIGNATURE OF ATTORNEY (OR PRO PER):

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 isnot filed
but is used by the Clerk of the Court for the purpose of stalistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

361 HIA All claims for health insurance benefits (Medicare) uncer Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the

program. (42 U.S.C. 1935FF(b))
All claims for “Black Lung” benefits under Title 4, Part B, of the Federat Coal Mine Health and Safety Act of 1969,

862 BL
(30 U.S.C. 923)

843 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child's insurance benefits based on disability. (42 U.S.C, 405(g))

863 DIww All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

CIVIL COVER SHEET Page 2 of 2

CV-71 (05/08)
Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 22 of 23 Page ID #:45

~
roy .

a
Name & Address: So $ qo PO Re ee
HAKOB AYVAZIAN fog fo pg eM,
1010 E MAGNOLIA BLVD Pea EP sy gn
BURBANK, CA 91501 SOS wr
HAKOB74@YMAIL.COM

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

HAKOB AYVAZIAN, An Individual CASE NUMBER
CVv12 - 150 6- Swi (6x \

PLAINTIFF(S)

Vv.

THE MOORE LAW GROUP, A California Company
(See Attached for Additional Defendants)
SUMMONS

DEFENDANT(S).

Se,
x : Uh:

TO: DEFENDANT(S): THEMQORE LAW GROUP: (Sée Attached-For Additichal Defendants)
NE aw
a Bs

ET 7

A lawsuit has been filed against you.

Within __21__ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached wo complaint 0 amended complaint
O counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, HAKOB AYVAZIAN , whose address is
1010 E MAGNOLIA AVE, BURBANK, CA 91501 . Tf you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

Dated: 2 ~ QP- / L By:
ay OT 4d . L . B S, ‘s s -22 4 ; .

oom a EB ig “hh as ot» (Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer ar employee of the United States. Allowed
60 days by Rule | 2(a)(3)}.

CV-01A (12/07) SUMMONS
Case 2:12-cv-01506-ODW-E Document 3 Filed 02/28/12 Page 23 of 23 Page ID #:46

HAKOB AYVAZIAN, Plaintiff in Pro Per
1010 E MAGNOLIA BLVD

BURBANK, CA 91501
HAKOB74@YMAIL.COM

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.:

HAKOB AYVAZIAN, an individual,
COMPLAINT FOR DAMAGES

PLAINTIFF,

vs.
THE MOOR LAW GROUP, A California Company
NELSON & KENNARD, A Califomia Professional
Company
ENCORE RECEIVABLE MANAGEMENT, INC A
Kansas Corporation
REDLINE RECOVERY SERVIES, LLC, A New York
Limited Liability Company
ASSET ACCEPTANCE, LLC, A Delaware Limited
Liability Company

DEFENDANTS,

Now comes the Plaintiff, HAKOB AYVAZIAN, (hereinafter “Plaintiff’) on behalf of
himself and brings his Complaint against THE MOORE LAW GROUP (hereinafter “MOORE”,
NELSON & KENNARD (hereinafter “NELSON”), ENCORE RECEIVABLE MANAGEMENT|
(hereinafter “ENCORE”), REDLINE RECOVERY SERVICES, LLC (hereinafter “REDLINE”) and
ASSET ACCEPTANCE, LLC (hereinafter “ASSET”) collectively known as DEFENDANTS, for
violations of Fair Debt Collection Practices Act [15 U.S.C. §1692-1692p] (“FDCPA”),
California’s Rosenthal Fair Debt Collection Practices Act [California Civil Code §1788 et seq.]
(“RFDCPA”), Fair Credit Reporting Act [15 U.S.C. §1681 et seq.] (“FCRA”), California’s
Consumer Credit Reporting Agencies Act [California Civil Code §1785.2 et seq.] (““CCRAA”),

and for defamation by libel and invasion of privacy/false light, alleging as follows:

PRELIMINARY STATEMENT

1, The FDCPA regulates the behavior of collection agencies attempting to collect a

COMPLAINT FOR DAMAGES- 1

